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  B2100A (Form 2100A) (12/15)


                            United States Bankruptcy Court
                            _______________
                            Central         District Of _______________
                                                        California

        Norma Angelica Centina
  In re ______________________________,                                     9:16-bk-11564-MB
                                                                   Case No. ________________



                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
  A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
  Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
  transfer, other than for security, of the claim referenced in this evidence and notice.

   U.S. Bank Trust National Association, as                                    Wells Fargo Bank, N.A.
   Trustee of the Tiki Series IV Trust
  ______________________________________                                      ____________________________________
             Name of Transferee                                                           Name of Transferor

  Name and Address where notices to transferee                                 Court Claim # (if known): 3
  should be sent:                                                              Amount of Claim: $487,966.33
   SN Servicing Corporation                                                    Date Claim Filed: 10/18/2016
   323 5th Street
   Eureka CA 95501
         (800) 603-0836
  Phone: ______________________________                                       Phone: __________________________
                              2246
  Last Four Digits of Acct #: ______________                                                               9994
                                                                              Last Four Digits of Acct. #: __________

  Name and Address where transferee payments
  should be sent (if different from above):



  Phone: _______________________________
  Last Four Digits of Acct #: _______________



  I declare under penalty of perjury that the information provided in this notice is true and correct to the
  best of my knowledge and belief.

     /s/ L. Bryant Jaquez
  By:__________________________________                                             2/12/2020
                                                                               Date:____________________________
          Transferee/Transferee’s Agent


  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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  B2100B (Form 2100B) (12/15)

                            United States Bankruptcy Court
                            _______________
                            Central         District Of _______________
                                                        California


        Norma Angelica Centina
  In re ______________________________,                      9:16-bk-11564-MB
                                                    Case No. ________________




        NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
              3
  Claim No. _____    (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
  alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
                                                                 2/12/2020 (date).
  Other than for Security in the clerk’s office of this court on ______



  Name of Alleged Transferor                                          Name of Transferee
   Wells Fargo Bank, N.A.                                             U.S. Bank Trust National Association, as
                                                                      Trustee of the Tiki Series IV Trust

  Address of Alleged Transferor:                                      Address of Transferee:
   Wells Fargo Bank, N.A.
   Attn: Default Document Processing                                   SN Servicing Corporation
   N9286-01Y
   1000 Blue Gentian Road
                                                                       323 5th Street
   Eagan, MN 55121-7700                                                Eureka CA 95501
                                ~~DEADLINE TO OBJECT TO TRANSFER~~
  The alleged transferor of the claim is hereby notified that objections must be filed with the court
  within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
  court, the transferee will be substituted as the original claimant without further order of the court.




  Date:_________                                                ______________________________
                                                                  CLERK OF THE COURT
Case 9:16-bk-11564-DS               Doc 58 Filed 02/12/20 Entered 02/12/20 15:24:54                                   Desc
                                     Main Document    Page 3 of 9
                                                                                                         (800) 603-0836
                                                                                        Para Español, Ext. 2660 o 2643
            323 5TH STREET                                                            8:00 a.m. – 5:00 p.m. Pacific Time
            EUREKA CA 95501                                                                    Main Office NMLS #5985
                                                                                             Branch Office NMLS #9785



                                                                                                       February 6, 2020

                                                                                SnscLoanID0000302246
    N ANGELICA CENTINA
    916 LINDEN AVE
    CARPINTERIA CA 93013



   RE: New Loan Number:          2246
       Old Loan Number:        9994
       Collateral: 804 NOONTIDE WAY; OXNARD CA

               NOTICE OF ASSIGNMENT, SALE, OR TRANSFER OF SERVICING RIGHTS
   Dear Customer:

   The notice, which follows, is intended to inform you that the servicing of your mortgage loan has been
   assigned, sold or transferred. If the above-referenced loan is a closed-end, first lien, 1-4 unit residential (e.g.,
   homes, condominiums, cooperative units and mobile homes) mortgage loan, this notice is being provided to
   you under Section 6 of the Real Estate Settlement Procedures Act (RESPA) (12 U.S.C. §2605). When a state
   law requires this notice, this notice is being provided to you under state law. When neither Section 6 of
   RESPA nor state law requires this notice, this notice is being provided to you for your information.
   You are hereby notified that the servicing of your mortgage loan, that is, the right to collect payments from
   you, has been assigned, sold or transferred from Rushmore Loan Management Services LLC to SN Servicing
   Corporation for Tiki Series IV Trust, effective February 1, 2020.

   The assignment, sale, or transfer of the servicing of the mortgage loan does not affect any term or condition of
   the mortgage instruments, other than terms directly related to the servicing of your loan.

   Except in limited circumstances, the law requires that your present servicer send you this notice at least 15
   days before the effective date of transfer, or at closing. Your new servicer must also send you this notice no
   later than 15 days after this effective date or at closing.

   Your present servicer is Rushmore Loan Management Services LLC, 15480 Laguna Canyon Rd, Ste 100,
   Irvine, CA 92618. If you have any questions relating to the transfer of servicing from your present servicer call
   Customer Service at (888) 504-6700 Monday through Thursday between 6:00 a.m. and 7:00 p.m. and Friday
   between 6:00 a.m. and 6:00 p.m. Pacific Time. This is a toll-free number.

   Your new servicer will be SN Servicing Corporation.

   The correspondence address for your new servicer is SN Servicing Corporation, 323 Fifth St, Eureka, CA
   95501.

   The toll-free telephone number of your new servicer is (800) 603-0836. If you have any questions relating to
   the transfer of servicing to your new servicer call Stephanie Franklin at (800) 603-0836 Monday through
   Friday between 8:00 a.m. and 5:00 p.m. Pacific Time. You may access your account and make payments via
   our secure website at https://borrower.snsc.com.

   The date that your present servicer will stop accepting payments from you is January 31, 2020. The date that
   your new servicer will start accepting payments from you is February 1, 2020. Send all payments on or after
   February 1, 2020 to your new servicer.
   Make your payments payable to:        SN Servicing Corporation

   Mail your payments to:                SN Servicing Corporation
                                         PO BOX 660820
                                         DALLAS, TX 75266-0820

   The transfer of servicing rights may affect the terms of or the continued availability of mortgage life or disability
   insurance or any other type of optional insurance in the following manner: SN Servicing Corporation will not
   continue to accept your insurance payments as a part of your monthly loan payment nor will it be responsible
   for the continuation of any such optional insurance coverage. You should take the following action to maintain
   coverage: contact your optional insurance carrier immediately for instructions on how to continue such
   optional insurance coverage.
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   You should also be aware of the following information, which is set out in more detail in Section 6 of the Real
   Estate Settlement Procedures Act (RESPA) (12 U.S.C. §2605):

   During the 60-day period following the effective date of the transfer of the loan servicing, a loan payment
   received by your old servicer before its due date may not be treated by the new loan servicer as late, and a
   late fee may not be imposed on you.

   Section 6 of RESPA (12 U.S.C. §2605) gives you certain consumer rights. If you send a “qualified written
   request” to your loan servicer concerning the servicing of your loan, your servicer must provide you with a
   written acknowledgment within 5 Business Days of receipt of your request. A “qualified written request” is a
   written correspondence, other than notice on a payment coupon or other payment medium supplied by the
   servicer, which includes your name and account number, and your reasons for the request. If you want to
   send a “qualified written request” regarding the servicing of your loan, it must be sent to this address: SN
   Servicing Corporation, 323 Fifth St, Eureka, CA 95501.

   Not later than 30 Business Days after receiving your request, your servicer must make any appropriate
   corrections to your account, and must provide you with a written clarification regarding any dispute. During
   this 30-Business Day period, your servicer may not provide information to a consumer reporting agency
   concerning any overdue payment related to such period or qualified written request. However, this does not
   prevent the servicer from initiating foreclosure if proper grounds exist under the mortgage documents.

   A Business Day is a day on which the offices of the business entity are open to the public for carrying on
   substantially all of its business functions.

   Section 6 of RESPA also provides for damages and costs for individuals or classes of individuals in
   circumstances where servicers are shown to have violated the requirements of that Section. You should seek
   legal advice if you believe your rights have been violated.

   You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
   collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
   used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
   bankruptcy, please read the next paragraph carefully for some important information.

   NOTICE TO ANY CUSTOMER IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN
   BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
   and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
   your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
   collection of that obligation from you personally. If these circumstances apply, this notice is not intended as a
   demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
   please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
   the property that secures the obligation.
   A consumer has the right to request in writing that a debt collector or collection agency cease further
   communication with the consumer. A written request to cease communication will not prohibit the debt
   collector or collection agency from taking any other action authorized by law to collect the debt.


   SN Servicing Corporation for Tiki Series IV Trust
   Customer Service Department
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                                                                                                       (800) 603-0836
                                                                                      Para Español, Ext. 2660 o 2643
            323 5TH STREET                                                          8:00 a.m. – 5:00 p.m. Pacific Time
            EUREKA CA 95501                                                                  Main Office NMLS #5985
                                                                                           Branch Office NMLS #9785



                                                                                                    February 6, 2020

                                                                              SnscLoanID0000302246
    N ANGELICA CENTINA
    916 LINDEN AVE
    CARPINTERIA CA 93013



   RE: New Loan Number:          2246
       Old Loan Number:        9994
       Collateral: 804 NOONTIDE WAY; OXNARD CA

   As stated in previous correspondence, the servicing of your mortgage loan has been transferred from
   Rushmore Loan Management Services LLC to SN Servicing Corporation for Tiki Series IV Trust effective
   February 1, 2020

   If your loan is secured by real estate, please contact your insurance carrier to have the mortgagee clause
   changed to the following:
         SN Servicing Corp
         ISAOA ATIMA
         P.O. Box 35
         Eureka, CA 95502
   Please have your insurance carrier forward a copy of your insurance policy with the mortgagee clause change
   to our Escrow Department at the address shown above. If your property is located in a flood hazard zone,
   which starts with an “A” or “V”, we will also require a copy of your flood insurance policy.

   If you or your insurance carriers have any questions, please contact Stephanie Franklin at (800) 603-0836
   Monday through Friday between 8:00 a.m. and 5:00 p.m., Pacific Time.

   You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
   collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
   used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
   bankruptcy, please read the next paragraph carefully for some important information.

   NOTICE TO ANY CUSTOMER IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN
   BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
   and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
   your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
   collection of that obligation from you personally. If these circumstances apply, this notice is not intended as a
   demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
   please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
   the property that secures the obligation.

   SN Servicing Corporation for Tiki Series IV Trust
   Escrow Department
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                                                                                           Desc
                                        Main  Document     Page  6 of 9
                                WHAT DOES SN SERVICING CORPORATION (SNSC) DO
      FACTS                     WITH YOUR PERSONAL INFORMATION?

                                Financial companies choose how they share your personal information. Federal law gives consumers
      Why?                      the right to limit some but not all sharing. Federal law also requires us to tell you how we collect, share,
                                and protect your personal information. Please read this notice carefully to understand what we do.


      What?                     The types of personal information we collect and share depend on the product or service you have with
                                us. This information can include:
                                  n   Social Security number and account balances
                                  n   transaction history and credit history
                                  n   credit scores and mortgage rates and payments
                                When you are no longer our customer, we continue to share your information as described in this
                                notice.


      How?                      All financial companies need to share customers’ personal information to run their everyday business.
                                In the section below, we list the reasons financial companies can share their customers’ personal
                                information; the reasons SN Servicing Corporation chooses to share; and whether you can limit this
                                sharing.

      Reasons we can share your personal information                  Does SN Servicing share?                   Can you limit this sharing?
     For our everyday business purposes—
     such as to process your transactions, maintain your
                                                                                   Yes                                          No
     account(s), respond to court orders and legal
     investigations, or report to credit bureaus

     For our marketing purposes—
                                                                                   Yes                                          No
     to offer our products and services to you

     For joint marketing with other financial companies                            Yes                                          No

     For our affiliates’ everyday business purposes—
                                                                                   Yes                                          No
     information about your transactions and experiences

     For our affiliates’ everyday business purposes—
                                                                                   Yes                                          Yes
     information about your creditworthiness

     For our affiliates to market to you                                           Yes                                          Yes

     For nonaffiliates to market to you                                            Yes                                          Yes

                                Do any of the following:
      To limit
                                  n   Call toll free: 800-603-0836
      our sharing
                                  n   Visit our Borrower Web Site: https://borrower.snsc.com
                                  n   Mail the form below
                                  Please note:
                                  If you are a new customer, we can begin sharing your information 30 days from the date we sent this notice.
                                  When you are no longer our customer, we continue to share your information as described in this notice.
                                  However, you can contact us at any time to limit our sharing.



      Questions?                Call 800-603-0836 or go to SNSC’s borrower website at: https://borrower.snsc.com

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      Mail-in Form
                            Mark any/all you want to limit:
                            q     Do not share information about my creditworthiness with your affiliates for their everyday business purposes.
                            q     Do not allow your affiliates to use my personal information to market to me.
                            q     Do not share my personal information with nonaffiliates to market their products and services to me.

                          Name
                                                                                                                     Mail to:
                          Address
                                                                                                                     SN Servicing Corporation
                                                                                                                     323 5th Street
                          City, State, Zip
                                                                                                                     Eureka, CA 95501
                          Account #
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                                            Main Document    Page 7 of 9
   What we do
   How does SN Servicing                    To protect your personal information from unauthorized access and use, we use security
   Corporation protect my personal          measures that comply with federal law. These measures include computer safeguards,
   information?                             secured files and buildings.
   How does SN Servicing                    We collect your personal information, for example, when you
   Corporation collect my personal
                                            n    give us your income information or provide account information
   information?
                                            n    give us your contact information or pay us by check
                                            n    provide your mortgage information
                                            We also collect your personal information from others, such as credit bureaus, affiliates, or other
                                            companies.
                                            Federal law gives you the right to limit only
   Why can’t I limit all sharing?
                                            n    sharing for affiliates’ everyday business purposes—information about your creditworthiness
                                            n    affiliates from using your information to market to you
                                            n    sharing for nonaffiliates to market to you
                                            State laws and individual companies may give you additional rights to limit sharing. See below for
                                            more on your rights under state law.
                                            Your choices will apply to everyone on your account.
   What happens when I limit
   sharing for an account I hold
   jointly with someone else?

   Definitions
   Affiliates             Companies related by common ownership or control. They can be financial and nonfinancial companies.
                          Our affiliates include companies with a “Security National” or “SN” common corporate identity and other financial
                          companies including, but not limited to:


                                 Alaska Eastern Partners, A Limited Partnership       SN Liquidating Trust 2011-A
                                 Alaska Louisiana Partners, A Limited Partnership     SN Mortgage Loan Trust
                                 Security National Funding Trust                      Statewide Mortgage Loan Trust
                                 Security National Mortgage Loan Trust




   Nonaffiliates          Companies not related by common ownership or control. They can be financial and nonfinancial companies.
                          n   Nonaffiliates we can share with include other mortgage companies, insurance companies, credit bureaus, direct
                              marketing companies, and rating agencies.

   Joint marketing        A formal agreement between nonaffiliated financial companies that together market financial products or services to
                          you.
                          n   Our joint marketing partners include banks, mortgage companies, and other lenders.


   Other important information

  State Laws - Our privacy and information sharing practices are in accordance with federal and state laws. California, Nevada and Vermont
  state laws limits the sharing personal information for their residents. We will not share personal information about California, Nevada or
  Vermont residents with non-affiliated third parties (Box 3) except as permitted by law. In the future if other states adopt privacy laws more
  restrictive than those under current federal or state law, SNSC will comply with those new laws.

  California: If you have a California address, we will treat your account as if you opted out from sharing information with non-affiliated
  companies on the Privacy Form (Box 3). To further restrict the sharing of personal information with our affiliates, you can mark Box 1 and 2
  on the Privacy Form, as well.

  Nevada: If you have a Nevada address, we do not share your information with non-affiliated third parties (Box 3). You may wish to further
  restrict the sharing of information by sending in the Privacy Form with Box 1 and 2 marked.

  Please call the toll-free SNSC customer service number if you wish for SNSC to include you in our internal do not call registry. If you would
  like guidance about Nevada’s law regarding corporate do-not-call registries, please contact the Bureau of Consumer Protection, Office of
  the Nevada Attorney General, 555 E. Washington Street, Suite 3900, Las Vegas, Nevada 89101; Phone: (702) 486-3132, Email:
  BCPINFO@ag.state.nv.us.

  Texas: Complaints regarding the servicing of residential mortgage loans in the state of Texas should be sent to the Department of Savings
  and Mortgage Lending, 2601 North Lamar, Suite 201, Austin, TX 78705. A toll-free consumer hotline is available at 877-276-5550.

  Vermont: If you have a Vermont address, we will treat you as if you opted-out of sharing your information with affiliated or non-affiliated
  entities on the mail-in Privacy Form (Boxes 1, 2 and 3).
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         SN SERVICING CORPORATION  - FEEPage
                        Main Document    SCHEDULE
                                             8 of 9                                  (Effective: 10/23/2019)
                                 Main Office: NMLS ID #5985; Branch Office: NMLS ID #9785
  The following is a list of fees and charges that, subject to applicable laws or the documents evidencing your loan, may be imposed in connection
                               with the servicing of your loan. Please note that the fees listed below are subject to change.
                       FEE                                    AMOUNT                                       DESCRIPTION
                                                                                       Penalty the homeowner pays when a mortgage payment is
                                                                                       made after the due date grace period. %/Amount stated in
  Late Charge Fee                                      Refer to loan documents
                                                                                       Note and/or Security Agreement and subject to state law
                                                                                       limits.

                                                                                       Fee charged when a payment by check is returned as not
  NSF or Dishonored Check Fee                                    Varies                paid by your bank because of insufficient funds in the
                                                                                       checking account. State law may dictate fee.

                                                                                       Loan documents may require you to pay an additional fee if
  Prepayment Fee                                       Refer to loan documents
                                                                                       you pay off your loan in advance of the maturity date.

                                                                                       Fee charged if the loan is in default and we can not make
  Property Inspection Fee                                       $20-$35                contact with you to determine the condition of the property,
                                                                                       in accordance with HUD Guidelines, where applicable.

                                                                                       Fee charged for determining the value and condition of the
  Broker Price Opinion Fee                                  $89.00 - $195.00           property when loan payments are past due, in accordance
                                                                                       with HUD Guidelines, where applicable.
                                                                                       Fee charged for appraisal used to determine the value and
                                                                                       condition of the property. The appraiser vendor costs are
  Appraisal Fee                                            $195.00 - $555.00
                                                                                       passed through to you without mark-up by us - you are
                                                                                       charged actual costs.

                                                                                       Fee paid to third party for title searches required by lender
  Title Search Fee                                              $130.00
                                                                                       or guarantor for loss mitigation reviews.

                                                                                       Fees and costs associated with protection of collateral.
                                                                                       Foreclosure attorney fees and costs will vary by filing type
  Foreclosure Attorney Fees and Costs                            Varies                and are limited to the actual fees and costs, and are
                                                                                       charged in acccordance with Fannie Mae guidelines, where
                                                                                       applicable. State law may limit costs .

                                                                                       Fees and costs associated with preserving obligation.
                                                                                       Bankruptcy attorney fees and costs will vary by bankruptcy
  Bankruptcy Attorney Fees and Costs                             Varies                chapter type and are limited to actual fees and costs, and
                                                                                       are charged in accordance with Fannie Mae guidelines,
                                                                                       where applicable.

                                                                                       Fees required to preserve the property. Will vary according
  Property Preservation Costs                                    Varies                to each situation and required expenses, and are limited to
                                                                                       actual fees and costs.

                                                                                       Fee required to provide a documentation of the monthly
                                                                                       payment history, account balance, and history of loan to a
  Verification of Mortgage                                       $10.00
                                                                                       third party. State law may dictate the fee amount, and
                                                                                       these will only be charged where permitted by state law.
                                       The fees shown below will be imposed for services that you request.
                                You will be asked to agree to pay these charges at the time you request the service.
                       FEE                                     AMOUNT                                       DESCRIPTION
                                                                                       Fee charged for making a payment by phone. State law
  Check by Phone                                                 $15.00                may dictate the fee amount, and these will only be charged
                                                                                       where permitted by state law.

                                                                                       Actual charge from delivery service provider (such as UPS
  Express Mail Fee                                           Actual charge
                                                                                       or FedEx) for expedited delivery of documents.

                                                 No charge for any of the following services:
          Online Payment Processing                     Amortization Schedule                        Duplicate Annual Statement
                    Fax Fee                               Loan Modification                               Payment History
          Loss Mitigation Processing                     Payoff Statement Fee                          Copy of loan documents



   These disclosures are provided for informational purposes and should not be considered as an attempt to collect a debt. If you
   have received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not an attempt to collect the
                                                     debt as a personal liability.
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                                                                      Main Document    Page 9 of 9




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